Case 1:17-cv-01654-MSK-NRN Document 140 Filed 06/17/19 USDC Colorado Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-01654-MSK-NRN

   SAUNDERS-VELEZ,

   Plaintiff,

   v.

   COLORADO DEPARTMENT OF CORRECTIONS (CDOC),
   TRAVIS TRANI, in his official capacity as Director of Prisons,
   MIKE ROMERO, in his official and individual capacities as Colorado Territorial
   Correctional Facility Warden,
   RICK RAEMISCH, in his official capacity as Executive Director of Colorado
   Department of Corrections,
   RYAN LONG, in his official capacity as Denver Reception and Diagnostic Center
   Warden,
   KELLIE WASKO, in her official capacity as Deputy Executive Director of Colorado
   Department of Corrections,
   DENVER RECEPTION AND DIAGNOSTIC CENTER (DRDC), and
   THE COLORADO TERRITORIAL CORRECTIONAL FACILITY (CTCF),

   Defendants.
        JOINT STATUS REPORT AND REQUEST TO CONTINUE THE STAY

          The Parties, through their counsel, respectfully submit the following Joint

   Status Report and Request to Continue the Stay. In support thereof, the Parties

   state as follows:

                         CERTIFICATE OF CONSULTATION

          Pursuant to D.C.COLO.LCivR 7.1(A), the parties met and conferred

   regarding the subject matter of this Motion. The Parties jointly provide the

   following status report and ask that the Court continue to stay this matter, up to




                                             1
Case 1:17-cv-01654-MSK-NRN Document 140 Filed 06/17/19 USDC Colorado Page 2 of 5




   and including July 15, 2019, because the Parties have reached a tentative

   settlement agreement and are diligently working to finalize some of the details.

         1.     Plaintiff is a transgender offender currently incarcerated within the

   Colorado Department of Corrections (CDOC) and has brought claims against the

   Defendants for alleged violations of Plaintiff’s constitutional rights under the

   Fourth and Eighth Amendments and a conspiracy claim under 42 U.S.C. § 1985(2).

         2.     On January 25, 2019, the Parties jointly sought a brief stay, up to and

   including February 14, 2019, so that the Parties may engage in discussions to

   determine if settlement is possible in this matter. [Doc No. 131].

         3.     On February 14, 2019, the Parties jointly sought and received a

   continued stay of the case until March 14, 2019, so that they could further engage in

   settlement negotiations. [Docs. 134 and 135].

         4.     On March 14, 2019, the Parties jointly sought and received a continued

   stay of the case until May 15, 2019, so that they could further engage in settlement

   negotiations. [Docs. 136 and 137].

         5.     The Parties continued to advance in their settlement negotiations and

   had two productive settlement meetings on April 23 and May 13, 2019.

         6.     On May 14, 2019, the Parties jointly sought and received a continued

   stay of the case until June 17, 2019, so that they could further engage in settlement

   negotiations. [Docs. 138 and 139].

         7.     On June 3, 2019, the Parties met with mediator, former Judge

   Christina Habas, and reached a tentative settlement agreement.



                                              2
Case 1:17-cv-01654-MSK-NRN Document 140 Filed 06/17/19 USDC Colorado Page 3 of 5




         8.     The Parties are currently in the process of working out some of the

   details of the tentative settlement agreement and have been diligently and amicably

   working together on finalizing some of the terms of the tentative settlement.

         9.     The Parties request that they be given up to and including July 15,

   2019, to file a joint status report indicating whether the tentative settlement is

   final, or if they believe further negotiations will be necessary, or whether the

   Parties wish the Court to set a new discovery cut-off date and a new deadline to file

   dispositive motions so that the Parties can complete the remaining discovery and

   set the remaining depositions.

         10.    This request is not made for the purpose of delay and no party will be

   prejudiced by the additional stay. The Parties have been diligently and

   constructively engaged in settlement negotiations.

         11.    There has not been a final pretrial conference set, and thus, the stay

   will not impact the setting of the final pretrial conference. In addition, there is no

   trial date set in this matter, meaning the trial date will not be impacted by the

   requested delay.

         WHEREFORE, the Parties submit their joint status report and jointly

   request, upon good cause shown, that the Court continue to stay this matter until

   July 15, 2019, at which time the Parties will file another joint status report

   indicating whether the mediation was successful, or if they believe further

   negotiations will be necessary, or whether the Parties wish the Court to set a new




                                              3
Case 1:17-cv-01654-MSK-NRN Document 140 Filed 06/17/19 USDC Colorado Page 4 of 5




   discovery cut-off date and a new deadline to file dispositive motions so that the

   Parties can complete the remaining discovery and set the remaining depositions.

         Respectfully submitted this 17th day of June, 2019.


                                                  PHILIP J. WEISER
                                                  Attorney General


    s/ Paula Greisen                              s/ Jack D. Patten, III
    Paula Greisen                                 CHRIS W. ALBER
    Meredith A. Munro                             Senior Assistant Attorney General
    King & Greisen, LLP                           JACK D. PATTEN, III
    1670 York Street                              Senior Assistant Attorney General
    Denver, CO 80206                              ANN LUVERA
    greisen@kinggreisen.com                       Assistant Attorney General
    munro@kinggreisen.com                         Colorado Department of Law
                                                  Civil Litigation and Employment Law Section
                                                  Ralph L. Carr Colorado Judicial Center
                                                  1300 Broadway, 10th Floor
                                                  Denver, Colorado 80203
                                                  Telephone: (720) 508-6612 or 6592
                                                  Facsimile: (720) 508-6032
                                                  Email: chris.alber@coag.gov
                                                          jack.patten@coag.gov
                                                          ann.luvera@coag.gov




                                             4
Case 1:17-cv-01654-MSK-NRN Document 140 Filed 06/17/19 USDC Colorado Page 5 of 5




                                 CERTIFICATE OF SERVICE

         I certify that on this 17th day of June, 2019 I electronically filed the foregoing

   JOINT STATUS REPORT AND REQUEST TO CONTINUE STAY with the Clerk of

   Court using the CM/ECF system which will send notification of such filing to the

   following email addresses:

         Paula Greisen                                      Courtesy Copy To:
         Meredith A. Munro                                  Adrienne Jacobson, CDOC
         King & Greisen, LLP
         1670 York Street
         Denver, CO 80206
         greisen@kinggreisen.com
         munro@kinggreisen.com

         Lynly Egyes
         Transgender Law Center-Brooklyn
         594 Dean Street, Suit 47
         Brooklyn, NY 11238
         lynly@transgenderlawcenter.org

         Shawn Thomas Meerkamper
         Transgender Law Center
         P.O. Box 70976
         Oakland, CA 94621
         shawn@transgenerlawcenter.org

         Counsel for Plaintiff


                                                        s/Sally Ott____________




                                              5
